
917 So.2d 344 (2005)
Timothy Lynn BODIE, Appellant,
v.
STATE of Florida, Appellee.
No. 1D03-1394.
District Court of Appeal of Florida, First District.
December 28, 2005.
Nancy Daniels, Public Defender, and P. Douglas Brinkmeyer, Assistant Public Defender, Tallahassee, for appellant.
Charlie Crist, Attorney General, and Thomas H. Duffy, Assistant Attorney General, Tallahassee, for appellee.
PER CURIAM.
On the court's own motion, the opinion of January 23, 2004, is withdrawn in light of Therrien v. State, 914 So.2d 942 (Fla.2005). The following opinion is substituted therefor.
AFFIRMED. Milks v. State, 894 So.2d 924 (Fla.2005).
PADOVANO, BROWNING and THOMAS, JJ., concur.
